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              IN THE UNITED STATES DISTRICT COURT FOR THE NORTHERN
                      DISTRICT OF TEXAS FORT WORTH DIVISION



     UNITED STATES OF AMERICA               §
                                            §
                                            §                Cause No. 7:21-CR-0008-O
                                            §
     RICKY DALE HOWARD                      §
                                            §



                            DEFENDANT HOWARD’S EXHIBIT LIST




EXHIBIT          SPONSORING          DESCRIPTION             OFFERED     IDENTIFIED     ADMITTED
NUMBER           WITNESS



1.               Ricky Howard or     R.H. in blue shirt      _______     _______        _______
                 qualified witness   holding baby

2.               Ricky Howard or     R.H. in blue/white      _______     _______        _______
                 qualified witness   shirt holding toddler
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3.          Ricky Howard or      R.H. wearing camo          _______    _______        _______
            qualified witness    baseball hat



4.          Ricky Howard or      R.H. in green shirt        _______    _______        _______
            qualified witness    with baby on 3/04/06

5.          Ricky Howard or      R.H. seated in armchair    _______    _______        _______
            qualified witness

6.          Ricky Howard or      R.H. holding baby          _______    _______        _______
            qualified witness    in kitchen

7.          Ricky Howard or      R.H. with sons             _______    _______        _______
            qualified witness.   on couch

8.          Ricky Howard or      R.H. with sister           _______    _______        _______
            qualified witness

9.          Ricky Howard or      R.H. with family           _______    _______        _______
            qualified witness    in front of tree

10.         Ricky Howard or      R.H. reading book          _______    _______        _______
            qualified witness

11.         Ricky Howard or      R.H. in front of lockers   _______    _______        _______
            qualified witness
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12.         Ricky Howard or     R.H. with family          _______    _______        _______
            qualified witness

13.         Ricky Howard or     R.H. in red/white shirt   _______    _______        _______
            qualified witness

14.         Ricky Howard or     R.H. on 4-wheeler         _______    _______        _______
            qualified witness

15.         Ricky Howard or     R.H. on family vacation   _______    _______        _______
            qualified witness

16.         Ricky Howard or     R.H. with wife            _______    _______        _______
            qualified witness

17.         Ricky Howard or     R.H. reading in           _______    _______        _______
            qualified witness   armchair

18.         Ricky Howard or     R.H. on Christmas         _______    _______        _______
            qualified witness

19.         Ricky Howard or     R.H. holding son          _______    _______        _______
            qualified witness

20.         Ricky Howard or     R.H. playing cards        _______    _______        _______
            qualified witness
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21.         Ricky Howard or     R.H. holding baby         _______    _______        _______
            qualified witness   kissing him

22.         Ricky Howard or     R.H. with family          _______    _______        _______
            qualified witness   around table

23.         Ricky Howard or     R.H. as child on          _______    _______        _______
            qualified witness   on Christmas

24.         Ricky Howard or     Rocky Stevenson           _______    _______        _______
            qualified witness   with child

25.         Lee Whitfield       Curriculum Vitae          _______    _______        _______

26.         Lee Whitfield or    Det. Brandon Poor’s       _______    _______        _______
            qualified witness   Digital Forensic Report
                                pg. 46

27.         Lee Whitfield or    Det. Brandon Poor’s       _______    _______        _______
            qualified witness   Digital Forensic Report
                                pg. 48

28.         Lee Whitfield or    Det. Brandon Poor’s       _______    _______        _______
            qualified witness   Digital Forensic Report
                                pg. 49
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29.         Lee Whitfield or    Det. Brandon Poor’s       _______    _______        _______
            qualified witness   Digital Forensic Report
                                pg. 51

30.         Lee Whitfield or    Det. Brandon Poor’s       _______    _______        _______
            qualified witness   Digital Forensic Report
                                pg. 53

31.         Lee Whitfield or    Det. Brandon Poor’s       _______    _______        _______
            qualified witness   Digital Forensic Report
                                pg. 112

32.         Lee Whitfield or    Det. Brandon Poor’s       _______    _______        _______
            qualified witness   Digital Forensic Report
                                pg. 114

33.         Lee Whitfield or    Det. Brandon Poor’s       _______    _______        _______
            qualified witness   Digital Forensic Report
                                pg. 116

34.         Lee Whitfield or    Det. Brandon Poor’s       _______    _______        _______
            qualified witness   Digital Forensic Report
                                pg. 118

35.         Lee Whitfield or    Det. Brandon Poor’s       _______    _______        _______
            qualified witness   Digital Forensic Report
                                pg. 120
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36.         Lee Whitfield or    Det. Brandon Poor’s       _______    _______        _______
            qualified witness   Digital Forensic Report
                                pg. 122

37.         Lee Whitfield or    Det. Brandon Poor’s       _______    _______        _______
            qualified witness   Digital Forensic Report
                                pg. 124

38.         Lee Whitfield or    Det. Brandon Poor’s       _______    _______        _______
            qualified witness   Digital Forensic Report
                                pg. 126

39.         Lee Whitfield or    Det. Brandon Poor’s       _______    _______        _______
            qualified witness   Digital Forensic Report
                                pg. 128
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                                              CERTIFICATE OF SERVICE


       I hereby certify that on July 15, 2021 the foregoing exhibit list was filed with the U.S. District Clerk by ECF
transmission, which was electronically copied to the Assistant United States Attorney assigned to this matter. A binder
containing these materials will be provided to the Government on July 16, 2021, and to the Court on July 19, 2021, prior
to jury selection.

                                        BY:    /s/ Benson Varghese
